Fill in this information to identify the case:

            Breault Research Organization Inc
Debtor Name __________________________________________________________________


                                        District ofDistrict
United States Bankruptcy Court for the: _______     Arizona of ________

                                                                                                                        Check if this is an
Case number: 4:19-bk-08754-BMW
             _________________________
                                                                                                                          amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                               12/17

Month:                 October 2019
                      ___________                                                                 Date report filed:    10/15/2019
                                                                                                                        ___________
                                                                                                                        MM / DD / YYYY

                   Optical Eng. serv/software
Line of business: ________________________                                                        NAISC code:           5734-01,5413-30,5112-10
                                                                                                                        ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                            ____________________________________________

Original signature of responsible party       ____________________________________________

Printed name of responsible party             ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                             Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.    Did the business operate during the entire reporting period?                                                                       
    2.    Do you plan to continue to operate the business next month?                                                                        
    3.    Have you paid all of your bills on time?                                                                                           
    4.    Did you pay your employees on time?                                                                                                
    5.    Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                                    
    6.    Have you timely filed your tax returns and paid all of your taxes?                                                                 
    7.    Have you timely filed all other required government filings?                                                                       
    8.    Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                    
    9.    Have you timely paid all of your insurance premiums?                                                                               
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                                      
    11. Have you sold any assets other than inventory?                                                                                       
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                                
    13. Did any insurance company cancel your policy?                                                                                        
    14. Did you have any unusual or significant unanticipated expenses?                                                             ✘
                                                                                                                                              
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                                  
    16. Has anyone made an investment in your business?                                                                                      
Official Form 425C                             Monthly Operating Report for Small Business Under Chapter 11                      page 1
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                             4:19-bk-08754-BMW
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                                  
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                    


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                    63075
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                                97098
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                              104797
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +          -7700
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                    55376
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                               1772
                                                                                                                             $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                                4:19-bk-08754-BMW
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                             147106
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees
                                                                                                                                          12
                                                                                                                                 ____________
    26. What was the number of employees when the case was filed?
    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          12
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                            0
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                               0
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                       0
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                      0
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                               86301
                                        $ ____________           –          97098
                                                                     $ ____________
                                                                                               =          10797
                                                                                                   $ ____________
    32. Cash receipts
                                               95000                       104797              =           -9797
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                               -8699             –           -7700             =             999
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                             100100
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                       98000

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                         2100




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                             4:19-bk-08754-BMW
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

       38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✘
       39. Bank reconciliation reports for each account.


       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                          page 4
    Official Form 425 C
    Monthly Operating Report for Small Business Under Chapter 11
    EXCEL EXHIBITS & INSTRUCTIONS

1   Enter case information in the cells below.
    Data entered in these cells is used is linked to other worksheets.

    Case Name:                                              Breault Research Organization Inc
    Case Number:                                            4:19-bk-08754-BMW
    Petition Date:                                                07/16/19
    First MOR Date:                                               07/31/19
    Current MOR Date:                                             09/30/19
    DIP Operating Account Bank                              Alliance Bank of Arizona
    Operating Account #                                             6379
    Other Account #, if applicable         Tax Acct                 9064
    Other Account #, if applicable         Payroll Acct              386
    Other Account #, if applicable


2   Form 425C Questionnaire
       a.   Questions 1-9. If answered No, provide written explanation in the box with the number corresponding to the question number on Exhibit A.
       b.   Questions 9 -18. If answered No, provide written explanation in the box with the number corresponding to the question number on Exhibit B.

3   Bank Reconcilation Worksheet
       a.   Enter ending balance from current month bank statement(s) in cells F14 to K14.
       b.   Identify and list all Deposits in Transit amounts for each account beginning in row 22.
       c.   Identify and list each Outstanding Check amount for each account beginning in row 48.
       d.   Verify balance(s) in row 16 equal account book balances on the current MOR date.
       e.   Enter the total amount of deposits in transit from the previous month's bank reconciliation
            clearing in the current month's statement.
       f.   Enter the total amounts of outstanding checks from the previous month's bank reconciliation
            where cleared in the current month's statement.

4   Cash Activity Summary Worksheet
       a.    Classify and summarize bank deposits into each of the applicable categories listed in Exhibit C&D (or attach your own schedule) and and enter into the appropriate worksheet cells
       b.    Classify and summarize bank disbursement into each of the applicable categories listed in Exhibit C&D (or attach you own schedule) and and enter into the appropriate worksheet cells.
      c.     Verify that the ending bank account balances in row 46 agree to the bank statement and ending balance in the bank reconciliation
             in row 13.
       d.    Enter cash on hand reported (aka book balances) at the end of the previous month in the appropriate cells in Row 50.
      e.     Verify amount in Cell G50 equals the cash reported in the previous month's balance sheet.
       f.    Enter total in row 50 as total opening balance of all accounts in Line 19 of the MOR.
      g.     Enter total in row 55 as total cash receipts in Line 20 of the MOR.
      h.     Enter the total in row 60 as total cash disbursments in Line 21 of the MOR.
       i.    Enter the total in row 62 as total cash flow in Line 22 of the MOR.
       j.    Enter the total in row 64 as cash on hand at the end of the month Line 23 of the MOR.
       k.    Enter the total in row 70 as total professional fees paid this month in Line 28 of the MOR.
       l.    Enter the total in row 74 as total other professional fees paid this month in Line 30 of the MOR.

5   Exhibit E
                Attach your internally prepared schedule of post-petition liabiities or,
                List liabilities and unpaid bills in Exhibit E.
                Carry forward total to Line 24 of Form 425 C.
6   Exhibit F
                Attach your internally prepared schedule of post-petition liabiities or,
                List Amounts due from others on Exhibit F.
                Carry forward the total to Line 25 of Form 425 C.

7   Balance Sheet Worksheet
            Copy Balance Sheet Balances for all historical reports from previous months Balance Sheet worksheet.
            Enter amounts from the Debtor's internally prepared balance sheet into Exhibit G in the category
            which most closely corresponds to the debtor's balance sheet.

8   Income Statement Worksheet
            Copy Income Statement Balances for all historical reports from previous months Income Statement worksheet.
            Enter amounts from the Debtor's internally prepared income statement into Exhibit H in the category
            which most closely corresponds to the debtor's income statement.

9   Cash Flow Worksheet
            Copy historical amounts appearing in the previous month's cash flow worksheet
            into the corresponding months in the current months cash flow worksheet.

10 Cash Activity Summary Worksheet
            Enter the total in row 72 as total professional fees paid in this case in Line 29 of the MOR.
            Enter the total in row 76 as total other professional fees paid in this case in Line 31 of the MOR.

11 Final Checking
            Verify that the resulting total in Exhibit E agrees to total post petition liabilities in in the Balance Sheet.
            Verify that the resulting total in Exhibit F agrees to total receivables in the Balance Sheet.




                                                                           Case 4:19-bk-08754-BMW    Doc 47 Filed 10/17/19 Entered 10/17/19 16:49:23   Desc
                                                                                                     Main Document    Page 5 of 30
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Exhibit A
Case Name:                           Breault Research Organization Inc
Case Number:             4:19-bk-08754-BMW
Report Date:                   10/31/19

                                                     Questionnaire Explanations

            Question 1 Explanation - If Answered No                           Question 6 Explanation - If Answered No




            Question 2 Explanation - If Answered No                           Question 7 Explanation - If Answered No




            Question 3 Explanation - If Answered No                           Question 8 Explanation - If Answered No




            Question 4 Explanation - If Answered No                           Question 9 Explanation - If Answered No




             Question 5 Explanation - If Answered No
Our tax returns have not been filed due to change in accountant
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Exhibit B
Case Name:                   Breault Research Organization Inc
Case Number:       4:19-bk-08754-BMW
Report Date:             10/31/19

                                       Questionnaire Explanations

     Question 10 Explanation - If Answered Yes              Question 15 Explanation - If Answered Yes




     Question 11 Explanation - If Answered Yes              Question 16 Explanation - If Answered Yes




     Question 12 Explanation - If Answered Yes              Question 17 Explanation - If Answered Yes




     Question 13 Explanation - If Answered Yes              Question 18 Explanation - If Answered Yes




     Question 14 Explanation - If Answered Yes
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Bank Accounts Reconciliation
Case Name:                                Breault Research Organization Inc
Case Number:                   4:19-bk-08754-BMW
Report Date:                         10/31/19


                                                           Pre-Petition                                  DIP BANK ACCOUNTS
Account Type                                                Account(s)         Operating        Other          Other         Other        Total
Last 4 Digits of Account Number                                                  6379           9064            386           0


Ending Balance - Bank Statement                                                    $57,476              $0             $0                   $57,476
Add: Deposits in Transit ("DIT's)                                         $0               $0           $0             $0            $0           $0
Less: Outstanding Checks:                                                 $0        ($2,100)            $0             $0            $0      ($2,100)
Ending Balance - Books                                                    $0       $55,376              $0             $0            $0     $55,376


Prior Months' DIT's in Bank Deposits                                                       $0           $0             $0                         $0
Prior Months' O/S Checks in Bank Disbursements                                     ($15,103)            $0             $0                   ($15,103)
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                                   Breault Research Organization Inc
Case Number:                                          4:19-bk-08754-BMW
Report Date:                                                10/31/19

                                                       Pre-Petition               DIP BANK ACCOUNTS
Account Type                                            Account(s)    Operating     Tax       Payroll   Other     Total
Last 4 Digits of Account Number                                         6379        9064       386

Beginning Bank Statement Balance                                      $78,179                                   $78,179

CASH RECEIPTS - Exhibit C
  Sales/Receipts
  Accounts Receivable - Postpetition                                  $121,633                                  $121,633
  Other Receipts                                                      -$26,536                                  -$26,536
  Payments From Insiders (Excl. Loans and Capital)
  Transfers From Other Accounts                                        $9,590     $19,395     $62,270           $91,256
  Proceeds From Sale Of Assets
  Accounts Receivable - Prepetition                                    $2,000                                    $2,000
  Loans and Advances
  Capital Contributions

   TOTAL BANK DEPOSITS                                                $106,688    $19,395     $62,270           $188,354

CASH DISBURSEMENTS - Exhibit D
  Cash Withdrawals and Payments
  Operating Disbursements                                             -$43,775    -$9,805    -$62,270           -$115,850
  Professional Fees - excluding reorg costs
  Other Disbursements
  Transfers To Other Accounts                                         -$81,666    -$9,590                       -$91,256
  Owner Draws/Advances
  Capital Expenditures
  Prepetition Debt Service Payments (PITI)
  Debt Service Payments (PITI)
  Reorganization Disbursements
    Attorney Fees
    Accountant Fees
    US Trustee Quarterly Fees                                          -$1,950                                   -$1,950
    Bankruptcy Court Costs
    Other Reorg Costs
  TOTAL BANK DISBURSEMENTS                                            -$127,390   -$19,395   -$62,270           -$209,056

Ending Bank Statement Balance                                         $57,476                                   $57,476

2. Summary of Cash Activity for All Accounts

Line 19. Total Opening Balance of all accounts                        $63,075                                   $63,075

Total Bank Deposits, excluding transfers                              $97,098                                   $97,098
Less: Deposits in Transit - Beginning of Period
Plus: Deposits in Transit - End of Period
Line 20. Total Cash Receipts                                          $97,098                                   $97,098

Total Bank Disbursements, excluding transfers                         -$45,725    -$9,805    -$62,270           -$117,800
Less: O/S Checks Cleared - Beginning of Period                        $15,103                                    $15,103
Plus: Outstanding Checks - End of Period                               -$2,100                                   -$2,100
Line 21. Total Cash Disbursements                                     -$32,722    -$9,805    -$62,270           -$104,797

Line 22. Net Cash Flow                                                $64,376     -$9,805    -$62,270            -$7,700

Line 23. Cash on Hand at End of Month                                 $127,451    -$9,805    -$62,270           $55,376

Line 28. Amount paid this month for professional
fees for this case

Line 29. Amount paid for professional fees for this
case

Line 30. Amount paid this month for other
professional fees.

Line 31. Amount paid for other professional fees for
this case
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Cash Activity - Operating Account
Case Name:                                                                                                                          Breault Research Organization Inc
Case Number:                                                                                                                        4:19-bk-08754-BMW
Report Date:                                                                                                                            10/31/19

                                                                                                                                                                                                                                  Operating Account Activity
                                                                                                                                                             1               2               3              4               5              6                7            8                 9                 10              11               12            13                 14                 15            16                17                18            19                20             21            22            23
                                                                                                                                                                         Accounts                                                                      Accounts                                             Cash                                                                                                                                                                 Reorg -
                                                                                                                                                                      Receivable Post-                  Payments                    Proceeds from Receivable Pre-    Loans and          Capital          Withdrawals      Operating       Professional     Other                             Owner Draws    Capital           Pre-Petition      Post Petition   Reorg -         Accountant      Reorg - US Reorg - Court
                  Category                        Date                                                                Description       Amount         Sales/Receipts     Petition     Other Receipts From Insiders    Transfers IN   Asset Sales       Petition     Advances         Contributions     and Payments    Disbursments         Fees      Disbursments       Transfers Out      and Advances Expenditures        Debt Service      Debt Service Attorney Fees         Fees        Trustee Fees   Costs      Reorg - Other        Total


11.Operating-Disbursements                         10/3/2019   check 29355 - GST Holdings                                                ($1,120.22)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($1,120.22)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($1,120.22)
11.Operating-Disbursements                         10/2/2019   check 29356 - Level 3 communications                                        ($119.02)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($119.02)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($119.02)
11.Operating-Disbursements                         10/3/2019   check 29357 - Legalshield                                                    ($90.60)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($90.60)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($90.60)
11.Operating-Disbursements                         10/3/2019   check 29358 - Sharp Business systems                                        ($175.18)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($175.18)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($175.18)
11.Operating-Disbursements                         10/2/2019   check 29359 - ADP                                                            ($41.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($41.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($41.00)
11.Operating-Disbursements                         10/7/2019   check 29360 - Jose riojas                                                   ($690.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($690.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($690.00)
11.Operating-Disbursements                        10/16/2019   check 29361 - OpticalCAD                                                  ($2,000.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($2,000.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($2,000.00)
11.Operating-Disbursements                         10/2/2019   check 29362 - Raga LLC                                                    ($2,405.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($2,405.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($2,405.00)
11.Operating-Disbursements                         10/8/2019   check 29363 - Apollo Optical                                              ($9,958.60)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($9,958.60)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($9,958.60)
11.Operating-Disbursements                         10/7/2019   check 29364 - Jennifer Breeding                                             ($390.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($390.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($390.00)
11.Operating-Disbursements                         10/7/2019   check 29365 - Mary Breeding                                                  ($87.99)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($87.99)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($87.99)
11.Operating-Disbursements                         10/7/2019   check 29366 - McMaster Carr                                                 ($124.02)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($124.02)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($124.02)
11.Operating-Disbursements                         10/2/2019   check 29367 - EDS - Employers Dental Service                                ($117.97)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($117.97)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($117.97)
11.Operating-Disbursements                         10/7/2019   check 29368 - Digi_Key Electronics                                          ($116.74)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($116.74)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($116.74)
11.Operating-Disbursements                         10/9/2019   check 29369 - Compliance Machine & tool                                     ($680.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($680.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($680.00)
11.Operating-Disbursements                         10/9/2019   check 29370 - ADP LLC                                                       ($155.82)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($155.82)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($155.82)
11.Operating-Disbursements                        10/23/2019   check 29371 - Mary Breeding                                                  ($74.98)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($74.98)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($74.98)
11.Operating-Disbursements                        10/11/2019   check 29372 - Jose Riojas                                                 ($2,250.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($2,250.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($2,250.00)
11.Operating-Disbursements                        10/17/2019   check 29373 - GST Holdings                                                ($1,031.40)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($1,031.40)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($1,031.40)
11.Operating-Disbursements                        10/23/2019   check 29374 - Level 3 Communications                                         ($83.40)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($83.40)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($83.40)
11.Operating-Disbursements                        10/24/2019   check 29375 - Sharp Business systems                                        ($242.93)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($242.93)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($242.93)
11.Operating-Disbursements                        10/21/2019   check 29376 - Mark Fink                                                     ($114.16)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($114.16)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($114.16)
11.Operating-Disbursements                        10/17/2019   check 29377 - Linda Juozapaitis                                              ($59.51)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($59.51)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($59.51)
21.Reorg Expenses-US Trustee Fees                 10/23/2019   check 29378 - US Trustee                                                  ($1,950.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00      ($1,950.00)          $0.00         $0.00      ($1,950.00)
11.Operating-Disbursements                        10/22/2019   check 29379 - ADP LLC                                                       ($163.14)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($163.14)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($163.14)
11.Operating-Disbursements                        10/30/2019   check 29380 - LegalShield                                                    ($90.60)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($90.60)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($90.60)
11.Operating-Disbursements                        10/30/2019   check 29381 - Jose riojas                                                   ($900.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($900.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($900.00)
11.Operating-Disbursements                         10/1/2019   POS - Arizona Corporation Commission                                         ($63.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($63.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($63.00)
11.Operating-Disbursements                         10/1/2019   ACH - Unum Insurance                                                        ($239.77)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($239.77)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($239.77)
11.Operating-Disbursements                         10/2/2019   POS - Walmart                                                                ($14.17)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($14.17)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($14.17)
11.Operating-Disbursements                         10/2/2019   ACH - ESG Corp                                                              ($891.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($891.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($891.00)
11.Operating-Disbursements                         10/3/2019   ACH - Humana                                                              ($7,472.78)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($7,472.78)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($7,472.78)
11.Operating-Disbursements                         10/4/2019   ACH - Paypal - City of Tucson Alarm fee                                     ($100.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($100.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($100.00)
11.Operating-Disbursements                         10/7/2019   POS - USPS Postage                                                           ($50.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($50.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($50.00)
11.Operating-Disbursements                        10/10/2019   POS - Walmart                                                                 ($8.67)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00            ($8.67)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00          ($8.67)
14.Transfers-to-Other-Accounts                    10/10/2019   Transfer to taxes acct                                                    ($9,805.15)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00         ($9,805.15)             $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($9,805.15)
14.Transfers-to-Other-Accounts                    10/10/2019   Transfer to payroll acct                                                 ($26,499.84)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00       ($26,499.84)              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00    ($26,499.84)
11.Operating-Disbursements                        10/11/2019   ACH - ESG Corp                                                               ($72.90)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($72.90)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($72.90)
11.Operating-Disbursements                        10/15/2019   POS - Anymeeting                                                             ($78.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($78.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($78.00)
11.Operating-Disbursements                        10/15/2019   POS - Spideroak                                                              ($90.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($90.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($90.00)
11.Operating-Disbursements                        10/16/2019   POS - Pantheon                                                              ($132.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($132.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($132.00)
11.Operating-Disbursements                        10/16/2019   ACH - Optum HSA                                                               ($3.75)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00            ($3.75)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00          ($3.75)
11.Operating-Disbursements                        10/17/2019   POS - Oregon Secretary of State                                             ($275.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($275.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($275.00)
11.Operating-Disbursements                        10/17/2019   ACH - UPS                                                                    ($22.44)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($22.44)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($22.44)
11.Operating-Disbursements                        10/17/2019   ACH - Ascensus Trust Ret Plan                                             ($3,743.21)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($3,743.21)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($3,743.21)
11.Operating-Disbursements                        10/18/2019   POS - Stamps.com                                                             ($19.56)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($19.56)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($19.56)
11.Operating-Disbursements                        10/18/2019   ACH - Aquare Inc SDV-VRFY                                                     ($0.01)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00            ($0.01)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00          ($0.01)
11.Operating-Disbursements                        10/21/2019   POS-Amazon                                                                   ($28.22)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($28.22)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($28.22)
11.Operating-Disbursements                        10/22/2019   POS-Culligan                                                                 ($57.39)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($57.39)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($57.39)
11.Operating-Disbursements                        10/24/2019   ACH to Raga LLC                                                           ($2,405.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($2,405.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($2,405.00)
11.Operating-Disbursements                        10/25/2019   POS - costco                                                                 ($53.51)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($53.51)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($53.51)
11.Operating-Disbursements                        10/25/2019   POS - Quickbooks                                                             ($76.09)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($76.09)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($76.09)
14.Transfers-to-Other-Accounts                    10/29/2019   Transfer to taxes acct                                                    ($9,590.30)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00         ($9,590.30)             $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($9,590.30)
14.Transfers-to-Other-Accounts                    10/29/2019   Transfer to payroll acct                                                 ($35,770.45)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00       ($35,770.45)              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00    ($35,770.45)
11.Operating-Disbursements                        10/29/2019   ACH - Unum Insurance                                                        ($239.77)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($239.77)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($239.77)
11.Operating-Disbursements                        10/30/2019   ACH - Ascensus Trust Ret Plan                                             ($3,743.21)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00        ($3,743.21)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($3,743.21)
11.Operating-Disbursements                        10/31/2019   POS - Walmart                                                                ($14.72)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($14.72)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($14.72)
11.Operating-Disbursements                        10/31/2019   POS - costco                                                                 ($21.98)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($21.98)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($21.98)
2.Post-Petition-Accounts-Receivable                10/8/2019   Incoming Wire UoTek Co Ltd                                                 $3,631.50              $0.00      $3,631.50            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $3,631.50
11.Operating-Disbursements                                     bank fee                                                                     ($19.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($19.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($19.00)
7.Pre-Petition-Accounts-Receivable                 10/9/2019   ACH Credit - Paypal (credit card payment from Wuhan)                       $2,000.00              $0.00          $0.00            $0.00        $0.00           $0.00         $0.00       $2,000.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $2,000.00
11.Operating-Disbursements                                     bank fee                                                                     ($88.30)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($88.30)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($88.30)
3.Other-Receipts                                  10/11/2019   incoming Wire - Spearhead Legal prepayment                                 $7,410.00              $0.00          $0.00        $7,410.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $7,410.00
2.Post-Petition-Accounts-Receivable               10/11/2019   ACH Credit - Viavi Solutions                                               $3,500.00              $0.00      $3,500.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $3,500.00
2.Post-Petition-Accounts-Receivable               10/16/2019   ACH Credit - DFAS                                                          $6,140.03              $0.00      $6,140.03            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $6,140.03
2.Post-Petition-Accounts-Receivable               10/16/2019   Remote Deposit                                                            $49,736.70              $0.00     $49,736.70            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00     $49,736.70
3.Other-Receipts                                               Down payment reclass to sales                                            ($30,079.35)             $0.00          $0.00     ($30,079.35)        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00    ($30,079.35)
3.Other-Receipts                                               COBRA payment                                                                  $8.62              $0.00          $0.00            $8.62        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00           $8.62
2.Post-Petition-Accounts-Receivable               10/18/2019   Incoming wire - Cornes Technolgies Limited                                $29,325.00              $0.00     $29,325.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00     $29,325.00
2.Post-Petition-Accounts-Receivable               10/18/2019   Square credit card processing                                              $3,750.00              $0.00      $3,750.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $3,750.00
11.Operating-Disbursements                                     credit card fee                                                             ($131.40)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($131.40)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($131.40)
3.Other-Receipts                                  10/18/2019   Square SDV-VRFY                                                                $0.01              $0.00          $0.00            $0.01        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00           $0.01
2.Post-Petition-Accounts-Receivable               10/21/2019   incoming wire - Alexander Otto                                             $3,500.00              $0.00      $3,500.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $3,500.00
11.Operating-Disbursements                                     bank fee                                                                    ($180.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($180.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($180.00)
2.Post-Petition-Accounts-Receivable               10/29/2019   Remote Deposit                                                            $15,550.00              $0.00     $15,550.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00     $15,550.00
3.Other-Receipts                                               Down payment reclass to sales                                             ($3,875.00)             $0.00          $0.00       ($3,875.00)       $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00      ($3,875.00)
5.Transfers-From-Other-Accounts                   10/30/2019   transferred to much to other acct for payroll                              $9,590.30              $0.00          $0.00            $0.00        $0.00       $9,590.30         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $9,590.30
2.Post-Petition-Accounts-Receivable               10/30/2019   ACH Credit - Paypal                                                        $3,000.00              $0.00      $3,000.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $3,000.00
11.Operating-Disbursements                                     credit card fee                                                             ($132.60)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00          ($132.60)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00        ($132.60)
2.Post-Petition-Accounts-Receivable               10/10/2019   incoming wire - KHATOD                                                     $3,500.00              $0.00      $3,500.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00       $3,500.00
11.Operating-Disbursements                                     bank fee                                                                     ($25.00)             $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00           ($25.00)            $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00         ($25.00)
                                                                                                                                                                 $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00           $0.00
                                                                                                                                                                 $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00           $0.00
                                                                                                                                                                 $0.00          $0.00            $0.00        $0.00           $0.00         $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00         $0.00              $0.00              $0.00         $0.00             $0.00             $0.00         $0.00          $0.00           $0.00           $0.00         $0.00           $0.00
Total                                                                                                                                   -$20,702.66               $0.00    $121,633.23     -$26,535.72         $0.00       $9,590.30         $0.00       $2,000.00            $0.00             $0.00           $0.00      -$43,774.73              $0.00         $0.00       -$81,665.74               $0.00         $0.00             $0.00             $0.00         $0.00          $0.00      -$1,950.00           $0.00         $0.00    -$20,702.66


1.Sales/Receipts
2.Post-Petition-Accounts-Receivable
3.Other-Receipts
4.Payments-from-Insiders
5.Transfers-From-Other-Accounts
6.Proceeds-from-Sales-of-Assets
7.Pre-Petition-Accounts-Receivable
8.Loans-and-Advances
9.Capital-Contributions
10.Cash-Withdrawals-and-Payments
11.Operating-Disbursements
12.Professional-Fees-excluding-reorg
13.Other-Disbursements
14.Transfers-to-Other-Accounts
15.Owner-Draws-and-Advances
16.Capital-Expenditures
17.Pre-Petition-Debt-Service-Payments
18.Post-Petition-Debt-Service-Payments
19.Reorg-Expenses-Attorney
20.ReorgExpenses-Accountant
21.Reorg Expenses-US Trustee Fees
22.Reorg Expenses-Court Fees
23.Other-Reorg-Expenses
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                    Breault Research Organization Inc
Case Number:                                  4:19-bk-08754-BMW
Report Date:                                        10/31/19
Exhibit E

                                                    Post-Petition Liabilities
                                                                                              Amount Due to
  Who is owed the money?    Date Incurred     Purpose of the Debt         When Due   Amount     Insiders

UPS Supply chain              08/01/19 duties/taxes for customer shipment 8/11/19    $1,212     disputed
ADP LLC                       10/31/19             payroll fees            11/8/19    $163
ADP LLC                       10/18/19             payroll fees           11/17/19     $41
FedEx                         10/31/19      shipping for customer job     11/30/19    $241
Sharp business systems        10/31/19       copier maint. & supplies     11/30/19    $115




Line 24. Total Payables                                                              $1,772        $0
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                     Breault Research Organization Inc
Case Number:                                4:19-bk-08754-BMW
Report Date:                                      10/31/19
Exhibit F

ACCOUNTS RECEIVABLE
Who Owes You the Money                             Trade       From Insiders     Total      Due Date                        Comments
                                                                                  $0
Asdoptics Science                                 $7,000                        $7,000       9/29/19
EZ Systems LLC                                      2,290.00                    $2,290    10/08/2019
Continential Automotive GmbH                        3,500.00                    $3,500    10/10/2019
EZ Systems LLC                                      2,326.00                    $2,326    10/17/2019
Qualcomm Techologies Inc                            3,500.00                    $3,500    10/18/2019
Muth Mirror Systems                                 1,250.00                    $1,250    10/26/2019
Muth Mirror Systems                                 4,500.00                    $4,500    10/26/2019
New Era Technology Inc                                250.00                     $250     11/01/2019
UOTEK CO., LTD                                      3,112.50                    $3,113    11/03/2019
EZ Systems LLC                                      2,326.00                    $2,326    11/03/2019
UOTEK CO., LTD                                     18,446.25                   $18,446    11/04/2019
Barco - Projectiondesign AS                         3,500.00                    $3,500    11/07/2019
Lanika                                              2,625.00                    $2,625    11/12/2019
ZEON / Cornes                                       4,425.00                    $4,425    11/16/2019
EZ Systems LLC                                      2,326.00                    $2,326    11/17/2019
STFC Rutherford Appleton Laboratory                 7,450.00                    $7,450    11/21/2019
UOTEK CO., LTD                                      5,625.00                    $5,625    11/22/2019
Cornes Techologies Limited                            275.00                     $275     11/23/2019
UOTEK CO., LTD                                     18,333.75                   $18,334    11/24/2019
Cornes Techologies Limited                          1,106.25                    $1,106    11/27/2019
Rudolph Technologies, Inc                           9,412.50                    $9,413    12/11/2019
SBIR                                               11,086.70                   $11,087    12/12/2019
UOTEK CO., LTD                                     18,633.75                   $18,634    12/21/2019
Cornes Techologies Limited                            275.00                     $275     12/23/2019
Cornes Techologies Limited                          1,106.25                    $1,106    12/27/2019
3M Korea/Zernike                                    5,250.00                    $5,250    12/30/2019
Cornes Techologies Limited                            275.00                     $275     01/22/2020
Cornes Techologies Limited                          1,106.25                    $1,106    01/26/2020
Cornes Techologies Limited                            275.00                     $275     02/21/2020
Cornes Techologies Limited                          1,106.25                    $1,106    02/25/2020
Cornes Techologies Limited                            275.00                     $275     03/23/2020
Cornes Techologies Limited                          1,106.25                    $1,106    03/27/2020
Cornes Techologies Limited                            275.00                     $275     04/22/2020
Cornes Techologies Limited                          1,106.25                    $1,106    04/26/2020
Cornes Techologies Limited                            275.00                     $275     05/22/2020
Cornes Techologies Limited                            275.00                     $275     06/21/2020
Cornes Techologies Limited                            275.00                     $275     07/21/2020
Cornes Techologies Limited                            275.00                     $275     08/20/2020
Cornes Techologies Limited                            275.00                     $275     09/19/2020
                                                                                  $0
Total Accounts Receivable                        $147,106           $0         $147,106
 Less Discounts/Returns/etc.
Line 25. TOTAL RECEIVABLES                       $147,106           $0         $147,106                Must equal total Receivables in Balance Sheet
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Additonal Information
Case Name:                                                     Breault Research Organization Inc
Case Number:                                  4:19-bk-08754-BMW
Report Date:                                        10/31/19

Balance Sheet                                   Schedules A&B
                                                   07/16/19           07/31/19       08/31/19       09/30/19       10/31/19      11/30/19     12/31/19     01/31/20      02/29/20        03/31/20    04/30/20    05/31/20     06/30/20
Cash                                                   $52,395            $41,821        $5,229        $63,075         $55,376
Financial Assets
Accounts Receivable                                  $168,903           $156,526       $251,940       $163,272        $147,106
Receivables From Insiders                                  $0
Investments                                                $0
Inventory                                                  $0
Real Property - Net                                        $0
Fixed Assets - Net                                    $23,138             $22,578       $21,419        $20,620         $19,821
Property, Plant, Equipment & Vehicles - Net                $0
Intangibles and Intellectual Property
All other assets                                     $395,169           $164,307       $141,394       $142,230        $139,500
Total Assets                                         $639,605           $385,232       $419,983       $389,198        $361,802          $0           $0            $0               $0          $0          $0          $0            $0

                                                Schedules D, E
                                                     &F
Pre-Petition Claims:                                       $0
  Secured Claims                                           $0
  Unsecured Claims                                 $4,288,798           $636,578       $609,532       $552,916
  Total Pre-Petition Claims                        $4,288,798           $636,578       $609,532       $552,916             $0           $0           $0            $0               $0          $0          $0          $0            $0

Post-Petition Liabilities:
 Accounts Payable                                                         $12,302       $20,713         $2,465          $1,772
 Payables to Insiders                                                          $0
 Accrued Liabilities, excluding interest                                       $0                                     $499,182
 Secured Debt                                                                  $0
 Accrued Interest - Secured Debt                                               $0
 Total Post-Petition Liabilities                           $0             $12,302       $20,713         $2,465        $500,954          $0           $0            $0               $0          $0          $0          $0            $0

Owner Equity
 Capital Investment/Stock                            $657,103           $657,103       $657,103       $657,103        $508,029
 Additional Paid In Capital
 Net Income - Current Year                           ($273,491)          ($39,787)       ($1,364)       $51,813        $27,031
 Retained Earnings - Petition Date                 ($4,211,616)       ($4,211,616)   ($4,211,616)   ($4,211,616)   ($4,211,616) ($4,211,616) ($4,211,616) ($4,211,616)   ($4,211,616) ($4,211,616) ($4,211,616) ($4,211,616) ($4,211,616)
 Retained Earnings - Post Petition
 Total Owner Equity                                ($3,828,004)       ($3,594,300)   ($3,555,877)   ($3,502,700)   ($3,676,556) ($4,211,616) ($4,211,616) ($4,211,616)   ($4,211,616) ($4,211,616) ($4,211,616) ($4,211,616) ($4,211,616)

Total Liabilities and Owners Equity                  $460,794         ($2,945,420)   ($2,925,632)   ($2,947,319)   ($3,175,602) ($4,211,616) ($4,211,616) ($4,211,616)   ($4,211,616) ($4,211,616) ($4,211,616) ($4,211,616) ($4,211,616)
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Additional Information
Case Name:                            Breault Research Organization Inc
Case Number:                          4:19-bk-08754-BMW
Report Date:                           10/31/19


Income Statement                      7/17-31/19
                                       07/31/19 08/31/19      09/30/19    10/31/19     11/30/19 12/31/19 01/31/20   02/29/20   03/31/20 04/30/20 05/31/20 06/30/20    Total        07/31/20 08/31/20 09/30/20 10/31/20 11/30/20 12/31/20 01/31/21   02/28/21    03/31/21 04/30/21 05/31/21 06/30/21   Total        07/31/21 08/31/21 09/30/21 10/31/21 11/30/21 12/31/21 01/31/22   02/28/22    03/31/22 04/30/22 05/31/22 06/30/22   Total
Revenues:
 Revenues                                $38,257 $154,737 $158,350         $151,500                                                                                  $502,844                                                                        $154,125                                        $154,125                                                                        $154,125                                        $154,125
 Cost of Revenues                       -$22,023 -$18,240  -$5,235         -$16,349                                                                                  -$61,847                                                                       -$117,373                                       -$117,373                                                                       -$117,373                                       -$117,373
 Other                                                                                                                                                                     $0                                                                                                                              $0                                                                                                                              $0
Gross Profit                             $16,234 $136,497 $153,114         $135,151         $0        $0       $0         $0        $0       $0        $0       $0   $440,997           $0       $0       $0       $0        $0       $0       $0    $36,751         $0       $0        $0       $0   $36,751           $0       $0       $0       $0        $0       $0       $0    $36,751         $0       $0        $0       $0   $36,751

Operating Expenses:
  Selling and Marketing                            -$15,406   -$18,596     -$11,532                                                                                 -$45,534                                                                                                                                $0                                                                                                                              $0
  Payroll and Payroll Taxes             -$37,741   -$61,863   -$64,579     -$78,050                                                                                -$242,233                                                                          -$6,462                                          -$6,462                                                                        -$6,462                                          -$6,462
  Insider Compensation                                                                                                                                                    $0                                                                          -$4,000                                          -$4,000                                                                        -$4,000                                          -$4,000
  Rent and Occupancy Costs               -$4,071    -$9,000    -$3,529       -$3,436                                                                                -$20,036                                                                          -$6,302                                          -$6,302                                                                        -$6,302                                          -$6,302
  Repairs and Maintenance                                                                                                                                                 $0                                                                          -$1,308                                          -$1,308                                                                        -$1,308                                          -$1,308
  Property Taxes                              $0                                                                                                                          $0                                                                                                                                $0                                                                                                                              $0
  Insurance                              -$7,676    -$7,624   -$11,076     -$10,600                                                                                 -$36,976                                                                                                                                $0                                                                                                                              $0
  Other General and Administrative       -$1,298    -$2,899    -$1,201      -$1,753                                                                                  -$7,150                                                                          -$1,012                                          -$1,012                                                                        -$1,012                                          -$1,012
  Professional Fees                      -$4,675                                                                                                                     -$4,675                                                                                                                                $0                                                                                                                              $0
  Other                                                                                                                                                                   $0                                                                            -$964                                            -$964                                                                          -$964                                            -$964
Total Operating Expenses                -$55,460   -$96,792   -$98,981    -$105,371         $0        $0       $0         $0        $0       $0        $0       $0 -$356,604            $0       $0       $0       $0        $0       $0       $0    -$20,047        $0       $0        $0       $0   -$20,047          $0       $0       $0       $0        $0       $0       $0    -$20,047        $0       $0        $0       $0   -$20,047

Non-Operating Expenses
  Interest Expense                            $0      -$42        -$22                                                                                                   -$63                                                                                                                               $0                                                                                                                              $0
  Gain (Loss) on Sale of Assets               $0                                                                                                                           $0                                                                                                                               $0                                                                                                                              $0
  Moving Expenses                             $0       -$82    -$1,501                                                                                                -$1,583                                                                                                                               $0                                                                                                                              $0
  Depreciation and Amortization            -$561    -$1,159      -$799         -$799                                                                                  -$3,318                                                                         -$6,556                                          -$6,556                                                                        -$6,556                                          -$6,556
  Reorganization Expenses                                                    -$1,950                                                                                  -$1,950                                                                         -$2,500                                          -$2,500                                                                        -$2,500                                          -$2,500
Total Non-Operating Costs                  -$561    -$1,282    -$2,321       -$2,749        $0        $0       $0         $0        $0       $0        $0       $0    -$6,913           $0       $0       $0       $0        $0       $0       $0     -$9,056        $0       $0        $0       $0    -$9,056          $0       $0       $0       $0        $0       $0       $0     -$9,056        $0       $0        $0       $0    -$9,056

Net Income (Loss) Before Taxes          -$39,787   $38,423     $51,812      $27,031         $0        $0       $0         $0        $0       $0        $0       $0    $77,479           $0       $0       $0       $0        $0       $0       $0     $7,648         $0       $0        $0       $0    $7,648           $0       $0       $0       $0        $0       $0       $0     $7,648         $0       $0        $0       $0    $7,648

Federal and State Tax Expense                                                                                                                                                 $0                                                                                                                              $0                                                                                                                              $0

Net Income (Loss)                       -$39,787   $38,423     $51,812      $27,031         $0        $0       $0         $0        $0       $0        $0       $0    $77,479           $0       $0       $0       $0        $0       $0       $0     $7,648         $0       $0        $0       $0    $7,648           $0       $0       $0       $0        $0       $0       $0     $7,648         $0       $0        $0       $0    $7,648
                                                                                                                           Year 1                                                                                                                                                       Year 2                                                                                                                                                  Year 3                                                                                                                                                  Year 4                                                                                                                                                  Year 5                                                                          Case Total
                                                     07/31/19   08/31/19   09/30/19    10/31/19    11/30/19    12/31/19    01/31/20    02/29/20    03/31/20    04/30/20    05/31/20    06/30/20      Total      07/31/20    08/31/20    09/30/20    10/31/20    11/30/20    12/31/20    01/31/21    02/28/21    03/31/21    04/30/21    05/31/21    06/30/21    Total   07/31/21    08/31/21    09/30/21    10/31/21    11/30/21    12/31/21    01/31/22    02/28/22    03/31/22    04/30/22    05/31/22    06/30/22    Total   07/31/22    08/31/22    09/30/22    10/31/22    11/30/22    12/31/22    01/31/23    02/28/23    03/31/23    04/30/23    05/31/23    06/30/23    Total   07/31/23    08/31/23    09/30/23    10/31/23    11/30/23    12/31/23    01/31/24    02/29/24    03/31/24    04/30/24    05/31/24    06/30/24    Total    07/31/24
Operating Receipts:
  Sales/Receipts                                                                         $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
  Accounts Receivable - Postpetition                                                  $121,633                                                                                                     $121,633                                                                                                                                                     $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0      $121,633
  Other Receipts                                                                      ($26,536)                                                                                                    ($26,536)                                                                                                                                                    $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0      ($26,536)
  Payments From Insiders (Excl. Loans and Capital)                                       $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
  Transfers From Other Accounts                                                        $91,256                                                                                                      $91,256                                                                                                                                                     $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0       $91,256
Total Operating Receipts                               $0         $0         $0       $186,354        $0          $0          $0         $0           $0          $0          $0          $0       $186,354        $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0      $186,354

Operating Expenses:
  Cash Withdrawals and Payments                                                           $0                                                                                                           $0                                                                                                                                                       $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0          $0
  Operating Disbursements                                                             ($115,850)                                                                                                   ($115,850)                                                                                                                                                   $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0      ($115,850)
  Professional Fees - excluding reorg costs                                               $0                                                                                                           $0                                                                                                                                                       $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0          $0
  Other Disbursements                                                                     $0                                                                                                           $0                                                                                                                                                       $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0          $0
  Transfers To Other Accounts                                                          ($91,256)                                                                                                    ($91,256)                                                                                                                                                   $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0       ($91,256)
Total Operating Expenses                               $0         $0         $0       ($207,106)      $0          $0          $0         $0           $0          $0          $0          $0       ($207,106)      $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0      ($207,106)

Operating Cash Flow (Deficit)                          $0         $0         $0       ($20,753)       $0          $0          $0         $0           $0          $0          $0          $0       ($20,753)       $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0      ($20,753)

Non-Operating Receipts:
  Proceeds from Sales of Assets                                                          $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
  Pre-Petition Accounts Receivable                                                     $2,000                                                                                                       $2,000                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0       $2,000
  Loans and Advances                                                                     $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
  Capital Contributions                                                                  $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
Total Non-Operating Receipts                           $0         $0         $0        $2,000         $0          $0          $0         $0           $0          $0          $0          $0        $2,000         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0       $2,000

Non Operating Disbursements:
  Owner Draws/Advances                                                                   $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
  Capital Expenditures                                                                   $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
  Prepetition Debt Service Payments (PITI)                                               $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
  Debt Service Payments (PITI)                                                           $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
  Reorganization Disbursements
     Attorney Fees                                                                       $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
     Accountant Fees                                                                     $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
     US Trustee Quarterly Fees                                                         ($1,950)                                                                                                     ($1,950)                                                                                                                                                    $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0       ($1,950)
     Bankruptcy Court Costs                                                              $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
     Other Reorg Costs                                                                   $0                                                                                                           $0                                                                                                                                                        $0                                                                                                                                                      $0                                                                                                                                                      $0                                                                                                                                                      $0         $0
Total Non-Operating Disbursements                      $0         $0         $0        ($1,950)       $0          $0          $0         $0           $0          $0          $0          $0        ($1,950)       $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0       ($1,950)

Non-Operating Cash Flow (Deficit)                      $0         $0         $0         $50           $0          $0          $0         $0           $0          $0          $0          $0          $50          $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0         $0           $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $50

Cash Flow (Deficit)                                    $0         $0         $0       ($20,703)       $0          $0          $0          $0          $0          $0          $0          $0       ($20,703)       $0          $0          $0          $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0          $0          $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0          $0          $0          $0          $0          $0          $0          $0          $0          $0          $0       $0         $0          $0          $0          $0          $0          $0          $0          $0          $0          $0          $0          $0       $0      ($20,703)
Accumulated Cash Flow (Deficit)                        $0         $0         $0       ($20,703)    ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)                ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)           ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)           ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)           ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)           ($20,703)

Cash Balance                                           $0         $0         $0       ($20,703)    ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)                ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)           ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)           ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)           ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)   ($20,703)           ($20,703)
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  567666ÿ9:ÿ;4<40=4                                                                     >6?56@A>6
  5B7766ÿ:,C+D-;9ÿ:-.9ÿEÿ-:-F                                                           B6?@GHA66
  5B77BHÿ:2IJKLM4ÿ:LN4OÿEÿ-F9P                                                           7?666A66
  5B7G66ÿ:2IJKLM4ÿ:LN4ÿEÿ,JQ4M                                                             RH6A66
  5B5766ÿ:,C+D-;9ÿS-/T+9T-TU9E-:-F                                                      H@?@5HA>>
  5B57BHÿ:2IJKLM4ÿSLV0J40L014ÿEÿ-F9P                                                     7?GW>A5G
  5B5G66ÿ:2IJKLM4ÿSLV0J40L014E,JQ4M                                                        R@BAH6
  5B@666ÿ:2IJKLM4ÿ+MLV0V0X                                                               7?@66A66
  5BGH66ÿ:2IJKLM4ÿ:LN4OÿYVO12=0JO                                                       EB?H65A75
  5@6B66ÿ/0J4M4OJÿ/01234                                                                     @AH5
  5@6R66ÿ,JQ4Mÿ/01234ÿEÿSVO14NNL042=O                                                        6A7>
U2OJÿ2IÿZ22[Oÿ:2N[
 5R7666ÿYVM41Jÿ.L\2M                                                                     G?BG>A6@
 5R7H66ÿYVM41JÿCMV0X4ÿ]404IVJO                                                           7?565A75
 5RBH66ÿYVM41JÿF2OJLX4ÿ^ÿCM4VXQJ                                                           BH6A7W
 5RW766ÿYVM41JÿU20O=NJV0X                                                                W?7H6A66
 5R5H66ÿYVM41Jÿ\=OV04OOÿS4LNO_`2\OÿU,Z:                                                    7R7A7R
 5RH676ÿYVM41Jÿ+ML<4N                                                                    B?6@@AWH
Z;,::ÿF;,C/+
9ab40O4O
 H67676ÿ-[3V0VOJMLJV<4ÿ.L\2M                                                            @H?GGHAR6
 H675B6ÿcL1LJV20ÿ+V34                                                                    H?H@WAB>
 H6B676ÿC/U-E:21VLNÿ:41=MVJd                                                             5?H>RABB
 H6B6B6ÿC/U-ES4[V1LM4                                                                    7?6>6A>W
 H6B7R6ÿ:e+-ÿ+La4OÿEÿ,;                                                                     BHA@B
 H6BB66ÿD2Mf4MOÿU23b40OLJV20                                                               BWWARW
 H6BW66ÿg4LNJQÿ/0O=ML014                                                                 @?575ARG
 H6B566ÿ93bN2d44ÿ]404IVJÿ/0O=ML014                                                         76BA66
 H6BH66ÿ:Q2MJÿ+4M3ÿYVOL\VNVJdÿ/0O=ML014                                                    7W>A>>
 H6BGG6ÿU20JMLÿEÿCV0X4ÿ]404IVJO                                                         E7?565A75
 H7W776ÿU233VOOV20Oÿ/0Eg2=O4                                                               HRBA>6
 H7W7B6ÿU,SS/::/,T:E,e+:/Y9ÿ;9F:                                                        77?B>WA>H
 H7WB76ÿ-[<4MJVOV0Xÿ^ÿSLMf4JV0X                                                            B7HA56
 HB7676ÿ+ML<4NÿEÿ+ML0Ob2MJLJV20                                                              5A66
 HB76R6ÿc4QV1N4ÿSVN4LX4                                                                     7>AHB
 HBBB76ÿZ404MLNÿ.VL\VNVJdÿ/0O=ML014                                                      W?G55ARG
 HBW776ÿ]=VN[V0Xÿ.4LO4_;40J                                                              B?56HA66
 HB5776ÿSLV0J40L014ÿ-XM44340JO                                                             77HA6G
 HBG776ÿ,IIV14ÿ:=bbNV4O                                                                     >5AGR
 HBGB76ÿ,b4MLJV0Xÿ:=bbNV4O                                                                  BGA7H
 HBGW76ÿ]M4Lfÿ;223ÿO=bbNV4Oÿ^ÿ]4<4MLX4O                                                    777A7H
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                                       Breault Research Organization Inc
                                               STATEMENT OF CASH FLOWS
                                                           October 2019


                                                                                             TOTAL
OPERATING ACTIVITIES
 Net Income                                                                               27,030.97
 Adjustments to reconcile Net Income to Net Cash provided by operations:
  112100 Accounts Receivable - Trade                                                      16,166.43
  113111 Notes Receivable - Francis Miller                                                     -6.54
  151210 Prepaid Insurance - Business                                                      3,944.89
  151250 Prepaid Insurance - Workers comp                                                    233.83
  151410 Prepaid Postage                                                                     -34.94
  151510 Prepaid Rent                                                                     -2,405.00
  151910 Prepaid Expenses - Other                                                            998.05
  176500 A/D-Test Equipment & Tools                                                          259.66
  176600 A/D-Computer & Accessories                                                          444.70
  176700 A/D-Computer Software                                                                94.82
  211000 Accounts Payable (A/P)                                                             -692.21
  212510 401K W/H Payable - Regular                                                            0.00
  212520 Undistributed Section 125 W/H                                                         0.00
  212530 Optional Ins-W/H payable                                                              -0.74
  214200 Accrued Vacations                                                                 5,563.27
  217320 DEFERRED MAINTENANCE REVENUE                                                    -14,291.62
  217340 Deferred Revenue                                                                -45,005.50
  217430 COBRA Insurance                                                                       0.00
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:           -34,730.90
Net cash provided by operating activities                                                $ -7,699.93
NET CASH INCREASE FOR PERIOD                                                             $ -7,699.93
Cash at beginning of period                                                               63,075.48
CASH AT END OF PERIOD                                                                    $55,375.55




                                             Tuesday, November 19, 2019 02:13 PM GMT-8          1/1
                                    Breault Research Organization Inc
                                                          BALANCE SHEET
                                                        As of October 31, 2019


                                                                                                      TOTAL
ASSETS
 Current Assets
 Bank Accounts
  111240 Alliance Bank of Arizona checking                                                          55,375.55
  111241 Alliance Bank - Payroll Acct                                                                    0.00
  111242 Alliance Bank - Taxes Account                                                                   0.00
 Total Bank Accounts                                                                               $55,375.55
 Accounts Receivable
  112100 Accounts Receivable - Trade                                                               147,105.95
 Total Accounts Receivable                                                                        $147,105.95
 Other Current Assets
  112190 Allowance for Bad Debts                                                                    -6,005.00
  113111 Notes Receivable - Francis Miller                                                           1,550.55
  119210 A/P - Trade Deposits                                                                       21,754.50
  151210 Prepaid Insurance - Business                                                                7,098.02
  151250 Prepaid Insurance - Workers comp                                                             467.70
  151410 Prepaid Postage                                                                                47.51
  151510 Prepaid Rent                                                                                2,405.00
  151630 Prepaid Subcontract work                                                                   23,805.00
  151810 Prepaid Tradeshow                                                                           5,917.40
  151910 Prepaid Expenses - Other                                                                    7,398.28
 Total Other Current Assets                                                                        $64,438.96
 Total Current Assets                                                                             $266,920.46
 Fixed Assets
 175100 Furniture & Fixtures                                                                        91,865.21
 175500 Test Equipment & Tools                                                                     327,565.27
 175600 Computers & Accessories                                                                    206,120.08
 175700 Computer Software                                                                           51,628.62
 176100 A/D-Furniture & Fixtures                                                                   -91,865.21
 176500 A/D-Test Equipment & Tools                                                                -318,418.57
 176600 A/D-Computer & Accessories                                                                -197,337.12
 176700 A/D-Computer Software                                                                      -49,737.27
 Total Fixed Assets                                                                                $19,821.01
 Other Assets
 181010 Trademarks                                                                                  18,471.00
 185010 Cash Value of Life Insurance                                                                53,003.02
 185100 Deposits                                                                                     1,142.00
 185200 Patent Fees                                                                                  2,445.00
 Total Other Assets                                                                                $75,061.02
TOTAL ASSETS                                                                                      $361,802.49

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities


                                        Accrual Basis Tuesday, November 19, 2019 03:14 PM GMT-8          1/2
                                                                                                     TOTAL
  Accounts Payable
   211000 Accounts Payable (A/P)                                                                   1,772.40
  Total Accounts Payable                                                                          $1,772.40
  Other Current Liabilities
   212510 401K W/H Payable - Regular                                                                   0.00
   212520 Undistributed Section 125 W/H                                                                0.00
   212530 Optional Ins-W/H payable                                                                     -0.74
   214200 Accrued Vacations                                                                       19,306.88
   216630 Notes Payable - Insurance Premium                                                            0.00
   217320 DEFERRED MAINTENANCE REVENUE                                                           312,344.49
   217340 Deferred Revenue                                                                       167,522.50
   217430 COBRA Insurance                                                                              8.45
   217500 Suspense Acccount                                                                            0.00
  Total Other Current Liabilities                                                               $499,181.58
 Total Current Liabilities                                                                      $500,953.98
 Total Liabilities                                                                              $500,953.98
 Equity
 300100 Preferred Stock - Series A                                                               500,000.00
 300200 Common Stock                                                                              11,534.93
 301000 Capital Contribs-Excess of PAR                                                           196,151.53
 305000 Treasury Stock                                                                            50,584.00
 320100 Retained Earnings
 Opening Balance Equity                                                                        -1,148,257.85
 Net Income                                                                                      250,835.90
 Total Equity                                                                                  $ -139,151.49
TOTAL LIABILITIES AND EQUITY                                                                    $361,802.49




                                     Accrual Basis Tuesday, November 19, 2019 03:14 PM GMT-8            2/2
